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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA


     UNITED STATES OF AMERICA,

     Plaintiff,

     v.                                                 Criminal Action No. 17-232-EGS

     MICHAEL T. FLYNN,

     Defendant.


     UNOPPOSED MOTION FOR ORDER PERMITTING CHRISTMAS TRAVEL

          In this Court’s August 16, 2019, order granting Michael T. Flynn’s “Mr. Flynn” motion to

travel within the continental United States, the Court directed Mr. Flynn to seek explicit permission

from this Court to travel abroad. Therefore, Mr. Flynn, by and through his counsel, respectfully

requests this Court issue an order for the return of Mr. Flynn’s passport and to approve his travel

to the Republic of Korea over the Christmas holiday, in compliance, coordination, and with the

permission of his Pre-Trial Services Officer.

            1.     Mr. Flynn has family currently residing in the Republic of Korea—the details

  of which have been provided to his pretrial services officer. Mr. Flynn traveled to South Korea

  after his appearance before this Court last December and returned on approximately the same

  schedule proposed here.

            2.     Mr. Flynn asks the Court to permit him to fly to Korea on December 21, 2019,

  and return on January 7, 2020. He will stay with family in their home.

            3.     Molly McCann will be available to pick up Mr. Flynn’s passport from the E.

  Barrett Prettyman Courthouse as soon as the Court approves this motion.

            4.     As noted in the Motion for Order Clarifying Travel Parameters, Dkt. 102, it is
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 beyond dispute that Mr. Flynn poses no risk of flight. He has been effectively on probation

 for close to two years; he has traveled to Korea and back, and he surrendered his passport upon

 request.

         5.     Mr. Flynn has served his country with the greatest distinction for thirty-three

 years, including five years in actual combat on missions. He can be counted on to complete

 his travel plans as detailed above and to return his passport upon his return.

         6.     The government did not oppose his travel last year, and it does not oppose this

 request.

         7.     For these reasons, Mr. Flynn requests that this Court enter an order granting the

 return of Mr. Flynn’s passport and approving his travel to South Korea over the Christmas

 holiday and New Year.


 Dated: December 2, 2019

                                                            Respectfully submitted,

                                                             /s/ Sidney Powell

/s/ Jesse R. Binnall
Jesse R. Binnall                                              Sidney Powell
Jesse R. Binnall, VSB # 79292                                 Molly McCann
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                             CERTIFICATE OF CONFERENCE

       Undersigned counsel conferred by email today with Mr. Van Grack and Ms. Ballentine

who advised that the government does not oppose this motion to allow Mr. Flynn’s travel to Korea

for the holidays.


                                                                    /s/Sidney Powell
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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 2, 2019, a true and genuine copy of Mr. Flynn’s

Unopposed Motion for Order Permitting Christmas Travel was filed using the Court’s CM/ECF

system, which will serve a copy of the filing upon all counsel of record.


Jessie K. Liu, U.S. Attorney for the District of Columbia
Brandon L. Van Grack, Special Assistant U.S. Attorney
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                                                                    /s/Sidney Powell
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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA

    Plaintiff,

    v.                                                   Criminal Action No. 17-232-EGS

    MICHAEL T. FLYNN,

    Defendant.



          ORDER GRANTING MOTION PERMITTING CHRISTMAS TRAVEL

         Michael T. Flynn “Mr. Flynn” requested this Court return his passport and grant him leave

to travel to the Republic of Korea from December 21, 2019, to January 7, 2020.

         Mr. Flynn’s motion is GRANTED.

         THE COURT ORDERS the return of Mr. Flynn’s passport and approves his travel to the

Republic of Korea over the Christmas holiday.



Date: ___________________________                    ____________________________________
                                                     The Honorable Emmet G. Sullivan, Jr.
                                                     United States District Judge
